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17
                                  UNITED STATES DISTRICT COURT
18
                               NORTHERN DISTRICT OF CALIFORNIA
19
                                         SAN FRANCISCO DIVISION
20
     DJENBA SIDIBE, JERRY JANKOWSKI,                Case No. 3:12-cv-4854-LB
21   SUSAN HANSEN, DAVID HERMAN,
     OPTIMUM GRAPHICS, INC., and
22   JOHNSON POOL & SPA, on Behalf of               NOTICE OF SETTLEMENT
     Themselves and All Others Similarly
23   Situated,

24                         Plaintiffs,

25          v.

26   SUTTER HEALTH,

27                         Defendant.

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     NOTICE OF SETTLEMENT                                                  CASE NO. 3:12-CV-4854-LB
     Case 3:12-cv-04854-LB          Document 1737           Filed 03/02/25    Page 2 of 3



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 2          PLEASE TAKE NOTICE. Plaintiffs, the Class and Sutter Health hereby inform the Court

 3   that the parties have reached an agreement in principle to settle all individual and class claims

 4   alleged in the above-referenced action. Plaintiffs will file a motion for preliminary approval

 5   within 45 days and request a case management conference in 90 days. The parties agree that the

 6   Court may excuse the jurors in the action and vacate all dates in this matter.

 7          Per our discussion with the Court, counsel do not intend to appear tomorrow.

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                                                Respectfully submitted,
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     Dated: March 2, 2025                        SHINDER CANTOR LERNER LLP
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12                                               /s/ Matthew L. Cantor
                                                 Matthew L. Cantor
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14                                               CONSTANTINE CANNON LLP
15
                                                 /s/ Jean Kim
16                                               Jean Kim
17                                               Lead Counsel for Plaintiffs and the Class
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19   Dated: March 2, 2025                        JONES DAY
20
                                                 /s/ David C. Kiernan
21                                               David C. Kiernan
22                                               Counsel for Defendant Sutter Health
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     NOTICE OF SETTLEMENT                                                     CASE NO. 3:12-CV-4854-LB

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 1                                      FILER’S ATTESTATION
 2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
 3   document has been obtained from each of the above signatories.
 4          Dated: March 2, 2025
 5                                               /s/ Jean Kim
 6                                               Jean Kim

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     NOTICE OF SETTLEMENT                                                      CASE NO. 3:12-CV-4854-LB

     NYDOCS 469832v.1
